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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
vs. No. l:O4-1258-T/An

45.50 ACRES OF LAND, MORE OR LESS
SITUATED IN GIBSON COUNTY, TENNESSEE,
and MARTHA GREEN THOMAS, ROBERT GREEN,
MILAN PUBLIC UTILITIES, CITY OF MILAN,
JEFF SMITH, FLOYD FLIPPIN, TENNESSEE
ATTORNEY GENERAL AND ALL OTHER UNKNOWN
PARTIES

Defendants.

ORDER SETTING CASE FOR TRIAL

This is to notify you that this case is set for JUR! TRIAL
on WEDNESDA.Yl FEBRUARI 15l 2006l AT 9:30 a.m. in the Federal
Courtroom, Room 432 4th Floor, U. S. Courthouse, in Jackson,
Tennessee. A joint pre-trial order must be submitted to the
court by FRIDAYl FEBRUARI 3c 2006. All discovery must be
completed before that date.

Counsel, and any part proceeding pro §§L MUST confer and
attempt to prepare a joint pre-trial order which covers the items
set forth below. If a joint pre-trial order cannot be agreed
upon, the attorneys must notify the court at least 10 days prior
to trial that a pre-trial conference may be necessary. In
addition to notifying the court, the attorney for each party or a
party proceeding p;g §§ must submit a draft of a pre-trial order
that considers the following matters:

l. any jurisdictional questions, and the proper ruling

thereon;

2. Any questions raised by pending motions, and the proper

ruling thereon;

3. The respective contentions of the parties, including the

contentions of the parties with regard to the nature and

amounts of damages;

4. specific facts that may be stipulated (possible sources

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of these agreed facts and the pleadings, discovery, or
admission of counsel);

5. contested issues of facts;

6. contested issues of law;

7. exhibits (except documents for impeachment only) to be
offered in evidence by the parties, and to the extent
possible, a stipulation as to admissibility;

8. witnesses for the parties - indicate those who will be
called in the absence of reasonable notice to opposing
counsel to the contrary and those who may be called as a
possibility only.

Counsel, and any party proceeding p;g §§, are also directed
to confer and exchange information as to the ultimate issues of
law and fact, eliminating unnecessary or irrelevant issues that
may appear in the pleadings or discovery, offered in evidence at
the trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally familiar with pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and define the triable issues, expedite the trial, and save
expense. At the time of the conference, counsel and any party
proceeding pro §§ will report to the court the prospects of
settlement, as well as estimates of the length of time it will
take to try the case. For a discussion of pre-trial conferences
and a modified form for a pre-trial orderr see Hon. A. Sherman
Christenson, When Is a Pre-Trial Conference A “Pre-Trial
Conference”?l 23 F.R.D. 129 (1958) (paper presented before Pre-
Trial Committee of the Tenth Circuit); see also Fed. R. Civ.
P.16.

IF AN ATTORNEY OR A PARTY PROCEEDING PRO §§ FAILS TO APPEAR AT
THE PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS
SET FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT
OF DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.
IT IS OS ORDERED.

ENTERED AS DIRECTED,

ROBERT R. DI TROLIO, CLERK

Deputy CIérk

DATE: 4/£0'[05

 

 

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DISTRICT OURT WESTER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:04-CV-01258 Was distributed by fax, mail, or direct printing on
April 20, 2005 to the parties listed.

 

Floyd S. Flippin

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Honorable J ames Todd
US DISTRICT COURT

